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             EXHIBIT A
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Epic Games, Inc. v. Google LLC
Google Closing Remedies Argument




                                                                                  1
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Epic Seeks Impermissible Judicial Central Planning
and Regulation

          “In short, judges make for poor ‘central planners’
      and should never aspire to the role.”
                                Nat'l Collegiate Athletic Ass'n v. Alston, 594 U.S. 69, 103
                           (2021) (internal citations omitted)



          Courts reject remedies that “displace the
      competitive forces of the marketplace and transform a
      segment of the [defendant’s] business into a regulated
      industry.”
                Calnetics Corp. v. Volkswagen of Am., Inc., 532 F.2d 674, 694 (9th Cir. 1976)

                                                                                                2
             Case 3:21-md-02981-JD       Document 1004-2      Filed 08/19/24    Page 4 of 63
Remedies Cannot Require Judicial Micromanagement
  “The Court simply cannot accept AliveCor’s invitation to micromanage the
  algorithms Apple maintains on watchOS by ordering Apple to modify its
  Workout Mode API to reintegrate HRPO and provide third-party developer
  access to HRPO values. The Court is not an industry expert in algorithms for
  biometric devices, and it gives a ‘wide berth’ to Apple's business judgement to
  remove HRPO and replace it with a more eﬃcient algorithm.”
                                        Alivecor, Inc. v. Apple, Inc., No. 21-cv-03958-JSW, 2024 WL
                          591864, at *17 (N.D. Cal. Feb. 13, 2024)



  “Judges must be sensitive to the possibility that the ‘continuing supervision
  of a highly detailed decree’ could wind up impairing rather than enhancing
  competition.”
         Nat'l Collegiate Athletic Ass'n v. Alston, 594 U.S. 69, 102 (2021) (internal citations omitted)


                                                                                                           3
                       Case 3:21-md-02981-JD     Document 1004-2      Filed 08/19/24   Page 5 of 63
                              Q    [A]s a software engineer, you would agree with me, right, that
                                   additional - - implementation decisions tend to arise as a
                                   project is being implemented, right?

                              A    Yes, you often learn more about a project as you implement
                                   it.

                              Q    As you implement it, you have to kind of make decisions
                                   along the way, right?

                              A    Yes.
   Michael Ernst
Epic’s Technology Expert
                                   ...

                              Q    And someone is going to have to make a choice about how
                                   to deal those implementation decisions as they arise along
                                   the way. True?

                              A That is correct. . . .
                             Ernst Dep. Tr. at 156:24–157:10; 158:13-17                               4
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Remedies Require a “Signiﬁcant Causal Connection”
to the Violation Proven

          “[R]elief must be based on a ‘clear indication of a
     signiﬁcant causal connection between the conduct enjoined or
     mandated and the violation found directed toward the remedial
     goal intended.’”
                    Optronic Techs. v. Ningbo Sunny Elec., 20 F.4th 466, 486 (9th Cir. 2021)
                  (quoting United States v. Microsoft Corp., 253 F.3d 34, 105 (D.C.Cir. 2001)




                                                                                                5
Epic Has the     Burden to Show It Is Entitled to Each
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Remedy It Seeks
      See 15 U.S.C.A. § 26 (West) (Sherman Act remedies must meet
      the standard for injunctive relief)

      “A plaintiff must demonstrate: (1) that it has suffered an
      irreparable injury; (2) that remedies available at law, such as
      monetary damages, are inadequate to compensate for that
      injury; (3) that, considering the balance of hardships between
      the plaintiff and defendant, a remedy in equity is warranted;
      and (4) that the public interest would not be disserved by a
      permanent injunction.”
                                    eBay Inc. v. Mercexchange, LLC, 547 U.S. 388, 391 (2006)

                                                                                               6
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Google Play Distribution
            Distributionof
                         ofThird-Party
                           Third-PartyApp
                                       AppStores
                                           Stores


Catalog  Access
Library Porting


Library Porting




                                                                             7
                        Case 3:21-md-02981-JD        Document 1004-2           Filed 08/19/24   Page 9 of 63



                                   “Google Play has inherent advantages because
                                   of the phenomena that we discussed at trial
                                   called network externalities
                                   ...
                                   So in my view, one of most important things
Douglas Bernheim                   that we need to do is to ﬁnd a way to mitigate
  Epic Expert Witness
                                   the network externalities, and we've offered, I
                                   think, a simple and creative proposal for doing
                                   that.”


                              5/23 Hrg. Tr. at 27:20-23; 28:16-19 (Bernheim)                                   8
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                              Q And when Google Play launched in that time
                                period, it was a small entrant in the market,
                                wasn’t it?
                               A That’s –– Google Play, obviously when –– at
                                 the very beginning it was a small player. It
Douglas Bernheim
  Epic Expert Witness
                                 grew rather rapidly because it and Apple
                                 had both come out with revolutionary
                                 products, and they kind of had ﬁrst-mover
                                 advantages in this scenario.

                              Trial Tr. at 2480:9-15 (Bernheim)                                      9
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                                                                                                         10
   Dkt.
Trial Tr.952, at p. 27 (Bernheim)
          at 2672:7-2673:15  (Gentzkow)                                                                   10
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                                                                           11
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Google Play Distribution of Third-Party App Stores


Catalog Access


Library Porting




                                                                              12
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1. The Law is Clear: Forced Sharing Harms Competition

      “Forcing ﬁrms to help one another would also risk reducing
      the incentive both sides have to innovate, invest, and
      expand—again results inconsistent with the goals of antitrust.”
              Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013) (Gorsuch, J.)



      “Compelling such ﬁrms to share the source of their advantage is
      in some tension with the underlying purpose of antitrust law,
      since it may lessen the incentive for the monopolist, the rival,
      or both to invest in those economically beneﬁcial facilities.”
         Verizon Commc’ns Inc. v. L. Offs. of Curtis v. Trinko, LLP, 540 U.S. 398, 407–08 (2004)


                                                                                                    13
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“As we have discussed, antitrust courts must give wide berth to
business judgments before ﬁnding liability. Similar considerations apply
when it comes to the remedy. Judges must be sensitive to the
possibility that the ‘continuing supervision of a highly detailed decree’
could wind up impairing rather than enhancing competition. Trinko,
540 U.S. at 415. . . . Judges must be wary, too, of the temptation to
specify ‘the proper price, quantity, and other terms of dealing’—cognizant
that they are neither economic nor industry experts. Trinko, 540 U.S. at
408. . . . And throughout courts must have a healthy respect for the
practical limits of judicial administration: ‘An antitrust court is unlikely to
be an effective day-to-day enforcer’ of a detailed decree, able to keep
pace with changing market dynamics alongside a busy docket. Trinko,
540 U.S. at 415, 124 S.Ct. 872. Nor should any court ‘impose a duty
that it cannot explain or adequately and reasonably supervise.’ Ibid.
In short, judges make for poor ‘central planners’ and should never
aspire to the role.’ Id. at 408 . . . .”
                    Nat’l Collegiate Athletic Ass’n v. Alston, 594 U.S. 69, 102–03 (2021)

                                                                                            14
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In Kodak, the Ninth Circuit struck a remedy provision requiring
Kodak to stock competing manufacturers’ parts.

The Ninth Circuit held that the remedy was “anticompetitive,”
because it “promotes free-riding” and “unnecessarily
entrenches Kodak as the only parts supplier” to service
providers.
      Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1225 (9th Cir. 1997)




                                                                                           15
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2. No Jury Findings To Guide The Remedy


     “[W]hen the district court undertakes to block the untraveled
     roads by adopting a forward-looking provision, its discretion is
     necessarily less broad because, without liability ﬁndings to
     mark the way, it is in danger of imposing restrictions that
     prevent the defendant from forging new routes to serve
     consumers.”
                 Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1223–24 (D.C. Cir. 2004)




                                                                                             16
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     3. The Remedy is Unnecessary




Trial Tr. at 3364:14-17 (Epic Closing); see also id. at 3359:15-18 (same)                                          17
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Google Play Distribution of Third-Party App Stores


Library Porting
Catalog  Access


Library Porting




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Catalog Access Proposal
Play Must Provide Millions of Apps to Other App Stores
                                                                OTHER
       GOOGLE PLAY                                            APP STORE




                                                                                    19
        Case 3:21-md-02981-JD   Document 1004-2
                                           OTHER
                                            APP
                                           STORE
                                                   Filed 08/19/24
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                                                    APP
                                                   STORE
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                                                                            Page 21 of 63
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                                                                                                                STORE




Catalog Access Proposal
                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER
                                                    APP     APP      APP         APP                            OTHER
                                            APP                                          APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER
                                                    APP     APP      APP         APP                            OTHER
                                            APP                                          APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




      GOOGLE PLAY
                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER
                                                    APP     APP      APP         APP                            OTHER
                                            APP                                          APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER   OTHER
                                            APP     APP     APP      APP         APP     APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER   OTHER
                                            APP     APP     APP      APP         APP     APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




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                                            APP     APP     APP      APP         APP     APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




                                           OTHER   OTHER   OTHER    OTHER       OTHER   OTHER   OTHER   OTHER   OTHER
                                            APP     APP     APP      APP         APP     APP     APP     APP     APP
                                           STORE   STORE   STORE    STORE       STORE   STORE   STORE   STORE   STORE




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Catalog Access Proposal
Play Must Fulﬁll Orders Behind the Scenes
                                      OTHER
                                    APP STORE                               GOOGLE PLAY




            Step 1:                                            Step 2:
      User orders an app                       Google fulﬁlls order through app store
                                                                                          21
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Catalog Access Proposal
Play Fulﬁlls Orders Behind the Scenes
 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER            OTHER            OTHER            OTHER              OTHER   OTHER
  APP     APP              APP              APP              APP                APP     APP
 STORE   STORE            STORE            STORE            STORE              STORE   STORE




 OTHER   OTHER           OTHER             OTHER             OTHER             OTHER   OTHER
  APP     APP             APP               APP               APP               APP     APP
 STORE   STORE           STORE             STORE             STORE             STORE   STORE




 OTHER    OTHER          OTHER             OTHER            OTHER              OTHER   OTHER
  APP      APP            APP               APP              APP                APP     APP
 STORE    STORE          STORE             STORE            STORE              STORE   STORE




                                                                                               22
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Epic’s Catalog Access Proposal Exceeds the
Court’s Authority

  •   Catalog Access Requires Impermissible Judicial
      Central Planning and Reengineering

  •   Epic Argued that Other App Stores Needed Exclusives,
      Not Play’s Entire App Catalog




                                                                                      23
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                                     “Providing rival app stores with access to the
                                     Google Play Store app . . . jump-starts the
                                     competitive process by decoupling the user side
Douglas Bernheim                     of the market from the developer side.”
  Epic Expert Witness




                              Dkt. 952-1 ¶ 63 (Bernheim)                                              24
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Epic’s Catalog Access Proposal Exceeds the
Court’s Authority

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      Exclusives, Not Play’s Entire App Catalog




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                                                                           26
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                                                                           27
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Google Play Distribution of Third-Party App Stores


Catalog Access


Library Porting
        Porting




                                                                              28
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No Interference with Product Design

     “Antitrust scholars have long recognized the undesirability of
     having courts oversee product design.”
                                    United States v. Microsoft Corp., 147 F.3d 935, 948 (D.C. Cir. 1998)




     Weighing “the beneﬁts of an improved product design against
     the resulting injuries to competitors is not just unwise, it is
     unadministrable.”
       Allied Orthopedic Applicants Inc. v. Tyco Health Care Grp. LP, 592 F.3d 991, 1000 (9th Cir. 2010)




                                                                                                           29
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                                                                           30
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If Third-Party Store Distribution, Catalog Access, or
Library Porting Are Imposed, the Court Should Include:

•   One or Two Year Duration

•   Google Can Set Criteria for App Store Participation

•   Google Can Charge App Stores for Play Distribution

•   For Catalog Access, Developers Should Opt In, Not Opt Out


                                                                                       31
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If Third-Party Store Distribution, Catalog Access, or
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                                                                                      32
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                             Q Is it your opinion that Google should be
                               permitted to refuse to distribute third-party app
                               stores that traﬃc in illegal content through the
                               Play Store, or is that not your opinion or are you
                               not taking a position one way or the other?
   Michael Ernst
Epic’s Technology Expert     A That is my view as a security expert. And it is my
                               view that’s already permitted under current
                               policies. . . .



                             Ernst Dep. Tr. at 290:23–291:9                                          33
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                            Q     [T]he Judge should consider [ ] the risk that with an
                                  insuﬃcient deﬁnition of an app store, there could be
                                  greater risk to user security, correct?
                           A     Well, I - - it’s - - that’s part of the thing the Judge can
                                 consider . . . . I’m just saying this is sort of complex
                                 landscape that sort of has a lot of interplay between, you
James Mickens,                   know, legal and economic issues . . . and the judge needs
Epic’s Security Expert
                                 to hear from economists and lawyers to think about, you
                                 know, what the implications are for some particular
                                 deﬁnition.



                            Mickens Dep. Tr. 239:17–240:18                                         34
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 DISTRIBUTES                     DISTRIBUTES                           DISTRIBUTES
MALICIOUS APPS                  PIRATED APPS                          ADULT CONTENT

                                                                                      35
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                             Q As you sit here today, can you think of any
                               content moderation policy in the Google Play
                               Store that cannot be evaded by the launcher
                               solution that I have described for you?
   Michael Ernst
Epic’s Technology Expert
                             A Not offhand. . . .




                             Ernst Dep. Tr. at 303:20–304:5                                          36
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If Third-Party Store Distribution, Catalog Access, or
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                                                                                       37
          Case 3:21-md-02981-JD     Document 1004-2       Filed 08/19/24    Page 39 of 63
The Ninth Circuit Struck an Injunction Requiring
Kodak to Sell Parts at “Reasonable” Prices:

           “This [reasonable price] requirement involves the Court in
      a matter generally considered beyond our function, namely,
      direct price administration.”
                Image Tech. Servs., Inc. v. Eastman Kodak Co., 125 F.3d 1195, 1225 (9th Cir. 1997)




                                                                                                     38
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                                                                                       39
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                                                                           40
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                             Q So my question is, could you imagine a reason
                               why a developer of an app would not want their
                               app to be displayed next to pirated or cracked or
                               unlocked versions of the app?
   Michael Ernst
Epic’s Technology Expert     A I can imagine that would be the case. I would
                               ﬁnd it surprising that Google permits that.




                             Ernst Dep. Tr. at 137:20–138:3                                          41
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Two Speciﬁc Prohibitions Proposed by Dr. Bernheim to
Address Anticompetitive Conduct Found by Jury
 Google shall not enter into any contracts that:
          1. include provisions that are explicitly conditional
             upon another party either dealing with a Google
             Play rival or acting as a Google Play rival; or

          2. share Google Play revenue with actual or potential
             competitors for app distribution.
 Replaces the following provisions from Epic’s proposed injunction: II.A.1, II.A.2, II.A.3,
 II.A.4, II.A.5, II.B.1, II.C.1, II.C.2, II.D.3
See 5/23 Hrg. Tr. at 12:13-14; 17:10-11 (Bernheim)
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                                     DR. BERNHEIM: [T]o have a violation, you’d
                                     have to be able to point to a provision in a
                                     contract that explicitly references some
                                     sort of dealings with a rival.
                                     THE COURT: And in your view as an
Douglas Bernheim                     economist, that would directly redress the
  Epic Expert Witness
                                     contractual restrictions the jury saw at trial?
                                     DR. BERNHEIM: Yes, with one category of
                                     exceptions I’m coming to.

                               5/23 Hrg. Tr. at 14:23–15:5 (Bernheim)                                    43
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Two Speciﬁc Prohibitions Proposed by Dr. Bernheim to
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             competitors for app distribution.
 Replaces the following provisions from Epic’s proposed injunction: II.A.1, II.A.2, II.A.3,
 II.A.4, II.A.5, II.B.1, II.C.1, II.C.2, II.D.3
See 5/23 Hrg. Tr. at 12:13-14; 17:10-11 (Bernheim)                                                      44
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Modiﬁcations to Dr. Bernheim’s Proposed “Rivals”
Prohibition
    • Limit to Android “Rivals,” Not Apple




                                                                                    45
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Modiﬁcations to Dr. Bernheim’s Proposed “Rivals”
Prohibition
    • Limit to Android “Rivals,” Not Apple

    • Deﬁne “Rivals” and “Potential Rivals”




                                                                                    46
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                                  “[W]e’re only talking about rivalry in terms of
                                  app distribution, so this ought to be focused
Douglas Bernheim
                                  on that.”
  Epic Expert Witness




                               5/23 Hrg. Tr. at 17:3-4.                                                47
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Modiﬁcations to Dr. Bernheim’s Proposed “Rivals”
Prohibition
    • Limit to Android “Rivals,” Not Apple

    • Deﬁne “Rivals” and “Potential Rivals”

    • Allow Agreements with OEMs to Protect Users
      from Harmful Apps



                                                                                    48
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   Allow Agreements with OEMs to Protect Users from
   Harmful Apps — Proposed Language
   For the avoidance of doubt:
    • (a) This provision does not prevent Google from enforcing generally
       applicable policies relating to content and functionality (e.g.,
       inappropriate or illegal content, gambling and crypto mining
       functionality).
    • (b) Google may adopt neutral user experience requirements that
       apply to all pre-installed app stores (including Google Play) so long
       as the purpose of those requirements is to protect the user
       experience and the requirements are not designed to disadvantage
       other app stores.
Proposed State Settlement Sec. 6.7.2                                                                 49
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Modiﬁcations to Dr. Bernheim’s Proposed “Rivals”
Prohibition
    • Limit to Android “Rivals,” Not Apple

    • Deﬁne “Rivals” and “Potential Rivals”

    • Allow Agreements with OEMs to Protect Users
      from Harmful Apps

    • Carve-Out for Deals Related to a Single App

                                                                                    50
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Sideloading: Warning Screens When Authorizing An
App to Install Other Apps
                                    Currently
                         1                       2

                             Pop-Up                  Settings
                             Warning                 Warning




             Proposed State Settlement Sec. 6.10
                                    1

                                        First-Time
                                         Warning


                                                                                      51
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In-App Billing Remedies

      Should the Court set a minimum price for
      Google Play Billing?
      Can developers decline to offer Google Play
      Billing as a billing option?
      Why require external link-outs, if developers can
      offer alternative payment options in the app?


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Epic is Asking for a Price Floor on Google Play Billing


                                  Fee for Google
                                    Play Billing




                                  Fee for All Play
                                  Store Services
                                 Other than Billing




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                                   DR. TADELIS: So I have no beef with Google charging
                                   26 percent or 16 percent or 73 percent for whatever
                                   they want to charge on distribution . . . .
                                   DR. TADELIS: If Google is providing –– let’s make it
                                   simple –– two different services, distribute through
                                   Google Play, don’t use Google Play Billing, there’s going
                                   to be a fee for that.
                                   THE COURT: And how does this stop –– how is that
Steve Tadelis                      fee to be set?
Epic Expert Witness

                                   DR. TADELIS: Google decides what that fee is. . . .
                                   THE COURT: So I don’t have to be involved in
                                   regulating that fee at all?
                                   DR. TADELIS: Absolutely not.
                             5/23 Hrg. at pp. 94:11-13, 97:3-15                                     54
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Epic is Asking for a Price Floor on Google Play Billing


                                  Fee for Google
                                    Play Billing                MUST BE NO LESS
                                                              THAN “AVERAGE TOTAL
                                                                COST” OF GOOGLE
                                                                  PLAY BILLING


                                  Fee for All Play
                                  Store Services
                                 Other than Billing




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In-App Billing Remedies

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Two Choices                                           One Choice




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In-App Billing Remedies

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1. Geographic Scope of Injunction

2. Effective Date of Injunction




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The Court Should Decline a Worldwide Injunction
“U.S. antitrust laws concern the protection of ‘American consumers and American exporters, not
foreign consumers or producers.’”
                                    In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 986 (9th Cir. 2008)



“Comity similarly rests on respect for the legal systems of members of the international legal
community—a kind of international federalism—and thus ‘serves to protect against unintended clashes
between our laws and those of other nations which could result in international discord.’”
                 Mujica v. AirScan Inc., 771 F.3d 580, 605 (9th Cir. 2014)(quoting EEOC v. Arabian Am. Oil, 499 U.S. 244, 248 (1991))



The general presumption against extraterritorial application of U.S. law recognizes that “United States
law governs domestically but does not rule the world.”
             Mujica v. AirScan Inc., 771 F.3d 580, 605 (9th Cir. 2014) (citing Microsoft Corp. v. AT&T Corp., 550 U.S. 437, 454 (2007))



“[C]omity concerns remain real as other nations have not in all areas adopted antitrust laws similar to
this country’s and, in any event, disagree dramatically about appropriate remedies.”
                                                               F. Hoffmann-La Roche Ltd. v. Empagran S.A., 542 U.S. 155, 156 (2004)
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Effective Date of Remedies

 Third-Party Store Distribution          12-16 months                 See Dkt. No. 981-1 at 15 (Baccetti)

 Catalog Access                          12-16 months                 See Dkt. No. 981-1 at 10 (Baccetti)

 Library Porting                         9 months                See Dkt. No. 981-3 at 14 (Cunningham)

 Any Other Remedy                        12+ months
 Requiring OS Modiﬁcation
 All Other Remedies                      90 days                                                            61




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